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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

ASSOCIATION OF INDEPENDENT
PHARMACEUTICAL WHOLESALERS, INC.,
84 Bloomfield Avenue
Pine Brook, NJ 07058

                      Plaintiff,

       v.                                         Civil Action No.: 1:16-cv-2214

OPTUMRX, INC.,
17900 Von Karman
Suite #125
Irvine, CA 92614;

UNITED STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES,
200 Independence Avenue, S.W.
Washington, DC 20201

       and

SYLVIA MATHEWS BURWELL, Secretary,
200 Independence Avenue, S.W.
Washington, DC 20201;

CENTERS FOR MEDICARE AND MEDICAID
SERVICES,
7500 Security Boulevard
Baltimore, MD 21244

       and

ANDREW M. SLAVITT, Acting Administrator,
7500 Security Boulevard
Baltimore, MD 21244;

                     Defendants.



                                     COMPLAINT

      Plaintiff, the Association of Independent Pharmaceutical Wholesalers, Inc. (“AIPW” or

“Plaintiff”), by and through their attorneys, FRIER & LEVITT, LLC, and by way of Complaint
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against Defendants, OptumRx, Inc. (“OptumRx”); Sylvia Mathews Burwell (“Burwell”), solely in her

official capacity as Secretary of the United States Department of Health and Human Services; the

United States Department of Health and Human Services (“HHS”), Andrew M. Slavitt (“Slavitt”),

solely in his capacity as Acting Administrator of the Centers for Medicare and Medicaid Services;

and the Centers for Medicare and Medicaid Services (“CMS”), do allege as follows:

                                      PRELIMINARY STATEMENT

         1.       Plaintiff brings this Complaint in response to OptumRx and the United States

Government’s implementation of a policy requiring all of its participating network pharmacies to

purchase medications only from a Verified-Accredited-Wholesale Distributor (“VAWD”). VAWD,

however, is not sanctioned by HHS nor by its “sub-agencies” such as CMS and the FDA, and its

licensure is not a requirement imposed upon wholesale distributors by Federal law. As detailed

below, this policy will not only drive Plaintiff and their Members out of business, but will irreparably

damage the United States’ prescription drug delivery system. As a result, OptumRx and, by

extension, the United States Government’s VAWD-accreditation policy should be deemed violative

of numerous State and Federal laws and struck down by this Honorable Court.

         2.       Plaintiff was originally organized as a for-profit corporation created on November 2,

2016 and subsequently dissolved on January 16, 2017. A separate not-for-profit entity called

Association of Independent Pharmaceutical Wholesalers, Inc.1, created on February 7, 2017,

assumed all assets and liabilities of the Plaintiff, including the interest in the instant litigation and

continues this litigation as the transferee of interest.               Both transferor and transferee were

incorporated to represent and protect the interests of independently-owned, duly-licensed

wholesalers and/or distributors that engage in the lawful sourcing and distribution of authentic

1Attached to this First Amended Complaint as Exhibit A is a document identifying all twenty-two (22) current
members of the not-for-profit entity Association of Independent Pharmaceutical Wholesalers, Inc., as of February 17,
2017. All twenty-two (22) entities listed in Exhibit A also had an interest in the Association of Independent
Pharmaceutical Wholesalers, Inc. entity created on November 2, 2016 and subsequently dissolved on January 16, 2017.




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medications and medical supplies to a number of purchasers (such as licensed pharmacies, durable

medical equipment companies, physicians, hospitals, and other wholesalers) throughout the United

States. Hereinafter, the entities are simply referred to as “Plaintiff” or “AIPW”.

        3.       Plaintiff is bringing this litigation on behalf of its members, who all would have

standing to sue in this litigation.

        4.       The interests and issues implicated in this litigation fit squarely within AIPW’s

purpose as a trade association for independent wholesalers of prescription drug products.

        5.       This litigation will not be adversely affected by the absence of the individual

members of AIPW as named parties in this litigation.

        6.       Plaintiff’s members, along with similarly situated independent wholesalers, are part of

the “Secondary Wholesale Market.”

        7.       The Secondary Wholesale Market is comprised of smaller wholesalers that purchase

the bulk of their medications and/or supplies from duly-licensed pharmacies and/or other duly-

licensed wholesalers, and then sell the medications and/or supplies to other pharmacies.

        8.       At all times Plaintiff’s members’ participation in the Secondary Wholesale Market is

wholly compliant with all applicable Federal and State laws.

        9.       The wholesale drug market is comprised predominately of three large players—

AmerisourceBergen Corporation, Cardinal Health, Inc., and McKesson Corporation (collectively

referred to hereinafter as “the Big Three”). About 85% of all revenues in the drug wholesale market

are generated by the Big Three.




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           10.   The Big Three do not participate in the Secondary Wholesale Market (at least

directly2), but rather obtain their medications and/or supplies primarily from drug or device

manufacturers.

           11.   OptumRx is a Pharmacy Benefit Manager (“PBM”). Like other PBMs, OptumRx is

essentially a third-party contractor tasked with administering the prescription drug benefit plans of

insurance carriers and Medicare Part D plan sponsors. Plan sponsors are entities that provide

Medicare Part D prescription drug plans and Medicare Advantage prescription drug plans. 42 C.F.R.

§ 423.4.

           12.   OptumRx manages prescription drug benefit plans for not only private insurance

companies and large employers, but also the State and Federal Government through the Medicare

and Medicaid programs. See generally 42 U.S.C. §§ 1395w-101, et seq. and 42 U.S.C. §§ 1396, et seq.

           13.   OptumRx contracts with a network of retail, mail order and specialty pharmacies to

provide and dispense covered prescription services to OptumRx’s members. OptumRx regulates

the participating pharmacies’ behavior and performance in the network through various contractual

documents, including a Pharmacy Network Agreement, a Provider Manual, and numerous informal

provider communications and Network Updates. Participating pharmacies must accept these terms

and conditions to participate in OptumRx’s networks, otherwise they would not be entitled to

receive reimbursement for prescriptions dispensed to OptumRx’s patients.

           14.   As detailed below, a series of partnerships and agreements throughout the

insurance/PBM/wholesale industry has resulted in OptumRx aligning its interests with the Big

Three.




2 Each of the Big Three own or have interests in or affiliations with subsidiary wholesale distributors who may have
different business practices.




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       15.     OptumRx’s business relationships with the Big Three have resulted in the

implementation of bad faith policies designed to steer market share away from the Secondary

Wholesale Market and toward the Big Three.

       16.     More specifically, by way of letter dated August 11, 2016, OptumRx informed its

participating pharmacies that effective October 1, 2016, participating pharmacies were required to

purchase all medications being dispensed to OptumRx members from a Verified-Accredited-

Wholesale Distributor (“VAWD”) (referred to hereafter as “VAWD-Accreditation Policy”).

       17.     VAWD is an accreditation offered by the National Association Boards of Pharmacy

(“NABP”). Most notably, entities seeking VAWD accreditation must not “engage in the wholesale

distribution of Prescription drugs that are purchased or received from pharmacies or practitioners,

or from wholesale distributors that obtained them from pharmacies or practitioners” even though

this practice is allowable under state and federal regulations of drug wholesalers. This eliminates the

Secondary Wholesale Market.

       18.     As a result, Plaintiff’s members and other similarly situated secondary wholesalers’

business models, which entail the purchasing of prescription drugs from pharmacies and

practitioners, renders compliance with VAWD’s conditions for accreditation an impossibility.

       19.     Plaintiff’s members have already been informed by their pharmacy customers that

the pharmacies will cease ordering medications and supplies from Plaintiff’s members due to

OptumRx’s VAWD-Accreditation Policy. This is because the pharmacy customers face PBM audits

from OptumRx, whereby OptumRx actively threatens to “recoup” 100% of funds paid to the

pharmacy arising from the purchase of drugs from wholesalers such as Plaintiff’s members that are

not VAWD accredited.

       20.     Additionally, OptumRx is a “First Tier” entity with delegated authority from a “PDP

Sponsor,” who must “comply with all applicable Federal laws, regulations, and CMS




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instructions.” 42 C.F.R. § 423.505. Beyond being simply bound by all applicable Federal laws,

regulations, and CMS instructions, OptumRx is an agent of the Federal Government in their

administration of Medicare Part D.

       21.      As a result, an informal rule making by HHS or CMS is required for the VAWD-

Accreditation Policy established by OptumRx to be effective as against “Downstream Entities”—

such as Plaintiff’s members and their customers—who “furnish” Medicare “services or benefits” to

Medicare enrollees.

       22.      HHS, Burwell, CMS, and Slavitt (collectively “HHS Defendants”) however, have

adopted the VAWD-Accreditation Policy without notice and comment rulemaking by way of their

agent, OptumRx’s implementation of the VAWD-Accreditation policy.

       23.      For the reasons that follow, OptumRx’s VAWD-Accreditation Policy is a blatant

violation of the California Unfair Practices Act as well as numerous other state law causes of action.

Additionally, the implementation of the VAWD-Accreditation Policy without proper notice and

comment rulemaking is a violation of the Administrative Procedure Act, 5. U.S.C. § 553, et seq.

                                          THE PARTIES

       24.      The Association of Independent Pharmaceutical Wholesalers, Inc. is a New Jersey

Corporation with its principal place of business located at 84 Bloomfield Avenue, Pine Brook New

Jersey 07058.

       25.      Upon information and belief, OptumRx is a corporation duly organized and existing

under the laws of the State of California with its principal place of business at 17900 Von Karman,

Suite #125, Irvine, California 92614.

       26.      Defendant Burwell is sued solely in her official capacity as Director of HHS.

       27.      Defendant HHS is a cabinet department charged with administration of the

Medicare program.




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       28.     Defendant Slavitt is sued solely in his official capacity as Acting Administrator of

CMS.

       29.     Defendant CMS is the agency within HHS charged with the administration of the

Medicare program.

                                 JURISDICTION AND VENUE

       30.     This Court has subject matter jurisdiction over the claims presented in this action

pursuant to 28 U.S.C. § 1331, the Administrative Procedure Act, 5 U.S.C. §§ 701-706, et seq., and the

Declaratory Judgment Act, 28 U.S.C §§ 2201 and 2202.

       31.     The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

OptumRx’s violations of the California Unfair Competition Law and State law claims because these

violations arise out of a common nucleus of operative fact and arise out of the same case or

controversy.

       32.     Additionally, the Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. 1331. There is diversity of citizenship among the parties and the matter in controversy

exceeds the sum or value of $75,000.

       33.     This Court has personal jurisdiction over Defendants because Defendants transact

business within the District of Columbia, provide or assists in providing health benefits to

individuals residing within the District of Columbia, committed the acts and omissions giving rise to

this lawsuit principally within the District of Columbia, and/or reside in the District of Columbia.

       34.     Venue is proper in this District pursuant to 28 U.S.C. 1391(e).




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                                 FACTS COMMON TO ALL COUNTS

  I.    The Prescription Drug Benefit Industry “Ecosystem”

        A. Synopsis of the Drug Distribution Chain

        35.     A typical drug distribution chain has three elements: (1) a manufacturer, which

creates and sells a prescription drug to (2) a wholesale distributor, which then sells the drug to (3) a

hospital or pharmacy, which dispenses it to patients.

        36.     Under Federal law, distributors have the authority to purchase drugs from

manufacturers and deliver them to pharmacies, hospitals, and other parties that are not patients. See,

e.g., 21 U.S.C. § 353(e)(3)(B) (providing that the wholesale distribution of drugs is defined as the

“distribution of drugs…to other than the consumer or patient.”).

        37.     Wholesale distributors that predominantly buy prescription medicines from the

manufacturers and predominantly distribute them directly to health care providers such as hospitals

and pharmacies are called “primary” distributors.

        38.     Most manufacturers do not sell directly to pharmacies. Instead, pharmacies purchase

their drug inventory from wholesaler distributors, particularly large “primary distributors.”

        39.     The wholesale distributor market is dominated by three major “primary” distributors

in AmerisourceBergen Corporation (“AmerisourceBergen”), Cardinal Health, Inc. (“Cardinal”) and

McKesson Corporation (“McKesson”). Collectively these major corporations are often referred to

as “the Big Three” and collectively maintain approximately an 85% market share of the United

States drug wholesale marketplace.

        40.     In addition to the Big Three, there are additional, large wholesaler distributors such

as Morris & Dickson, H.D. Smith, Smith Drug, Anda Distribution and several cooperative

wholesaler groups. Collectively these additional wholesalers can be referred to as “Other Large

Wholesalers.”




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       41.     In addition to the Big Three and Other Large Wholesalers, the wholesale distribution

market also includes smaller wholesalers, such as Plaintiff’s members, that help service smaller

pharmacies that are unable to meet minimum purchasing requirements of the Big Three.

       42.     These smaller wholesalers help independent, community pharmacies manage

expensive inventory by creating a competitive and legal secondary marketplace for drugs that are at

risk of failing to be utilized within the effective date of the medication, thereby diminishing waste.

These wholesalers are referred to hereinafter as “Secondary Wholesalers.”

       43.     As part of the business model of some of these Secondary Wholesalers, they

purchase inventory from pharmacies where drug inventory may go unutilized and sell to other

pharmacies at lower acquisition costs. Secondary Wholesalers may also purchase inventory from

other wholesalers that had previously purchased the inventory from a pharmacy.

       44.     This important market task minimizes drug waste, allows for more efficient

acquisition prices and ultimately helps keep healthcare costs down.

       45.     Speaking on the importance of the existence Secondary Wholesalers to the

prescription drug market, HHS and the FDA reported to Congress that “the secondary wholesale

market operates on an arbitrage system whereby secondary distributors, by purchasing and selling

drugs at discounts offered by manufacturers and other distributors, help to keep drug prices lower

overall for consumers than they would otherwise be without the presence of secondary

distributors.” See United States Department of Health and Human Services (“HHS”) and the United

States Food and Drug Administration (“FDA”), The Prescription Drug Marketing Act: Report to Congress,

at               15               (June                2001),                available              at

http://www.fda.gov/downloads/RegulatoryInformation/Legislation/SignificantAmendmentstothe

FDCAct/PrescriptionDrugMarketingActof1987/UCM203186.pdf.




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       46.     Most importantly, this market task is completely legal and is supported directly by

both the Federal Food, Drug and Cosmetic Act, and by the various State laws relating to licensed

wholesale distribution.

       B. Members of AIPW’s Role in the Industry

       47.     Plaintiff’s members at all times are compliant with State and Federal regulations as

they apply to wholesalers and the transfer of prescription medication and supplies.

       48.     Plaintiff’s members are Secondary Wholesalers which lawfully obtain access to drugs

from the Big Three, Other Large Wholesalers, manufacturers, or other lawful sources including

smaller wholesalers that may not have VAWD accreditation, as well as providers, such as pharmacies

and other practitioners.

       49.     Secondary Wholesalers, such as Plaintiff’s members and those similarly situated, play

an important role for patients and pharmacies by serving as an alternative source of supply to

pharmacies who may use the Big Three or Other Large Wholesalers for their usual and anticipated

day-to-day operations.

       50.     Crucially, Plaintiff’s members and similarly situated Secondary Wholesalers provide

necessary competition for the Big Three or Other Large Wholesalers, which in turn keeps healthcare

costs down especially where the Big three control approximately 85% (or more) of the revenues

generated in the wholesale drug market.

       51.     Moreover, while most providers (especially pharmacies) rely on the Big Three or

Other Large Wholesalers to meet the majority of their drug supply needs, they typically also need to

have at least one or more smaller wholesaler in the event that the larger wholesaler cannot meet their

demand at any particular time, offer pricing that is below reimbursement, or will not sell to a smaller

pharmacy.




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       52.     Additionally, the Big Three and Other Large Wholesalers typically have steep

minimum purchasing requirements that many small, independent pharmacies and other providers

cannot possibly meet.

       53.     The availability of a secondary market and Secondary Wholesalers is critical to the

viability of these providers and their elimination from the marketplace could lead to significant

interruptions in patient care and access to sometimes life-saving medications.

       54.     In a similar vein, most drug manufacturers limit the number of “authorized

distributors of record” to only those entities which are large enough, such as the “Big Three,” to

purchase their products in massive, bulk amounts.

       55.     Due to the comparatively modest nature of many Secondary Wholesalers such as

Plaintiff’s members, these Secondary Wholesalers cannot reasonably rely on purchasing directly

from manufacturers as most manufacturers will refuse to do business with these smaller distributors

who are unable to meet certain unrealistic purchasing requirements.




 II.   Regulation of Wholesalers

       56.     All wholesale distributors are regulated by a myriad of Federal and State laws and

regulations that govern the licensing and conduct of wholesale distributors.

       57.     These laws are designed to ensure legal safeguards for prescription drug distribution

and protect the market from the sale of counterfeit, adulterated, misbranded, subpotent, and expired

prescription drugs.

       58.     For example, the Prescription Drug Marketing Act of 1987 (PDMA) amended by the

Prescription Drug Amendments of 1992 (PDA), sets the baseline for wholesale distribution

regulations and requires among other things, that every wholesale distributor who engages in




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wholesale distributions of prescription drugs in interstate commerce must be licensed by the State

licensing authority before engaging in wholesale distributions of prescription drugs in interstate

commerce and that certain wholesalers provide a statement (also known as a pedigree) prior to each

wholesale distribution of prescription drugs and expressly prohibits a wholesale distributor’s

purchase form a hospital entity, but makes not similar prohibition from a pharmacy or physician.

        59.     Further provisions of the PDMA include setting minimum qualifications and

specifications of wholesale distributors’ personal, codifying minimum requirements for the storage

and handling of prescription drugs and establishing violations and penalties for wholesalers who fail

to meet such requirements.

        60.     Additional Federal action regarding the drug supply chain was taken in 2013 when

Congress passed the Drug Quality and Security Act (DQSA), which amended the Federal Food

Drug, and Cosmetic Act (FDCA) and outlined new requirements to develop and enhance drug

supply chain security by 2023.

        61.     Specifically, the DQSA included the Drug Supply Chain Security Act (DSCSA),

commonly referred to as “Track-and-Trace,” which set forth specific enhancements applicable

actors within the overall drug supply chain.             These enhancements include product tracing

requirements that went into effect in 2015 for manufacturers, repackagers, wholesale distributors

and dispensers, and establish national licensure standards for wholesale distributors and third-party

logistics providers.

        62.     Importantly, the DSCSA states that no State may establish or continue any

standards, requirements or regulations with respect to prescription drug distributor or third-party

logistics provider licenses that are inconsistent with, less stringent than, directly related to or covered

by the standards and requirements of the DSCSA.




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          63.   This language indicates that the DSCSA creates a national uniform drug supply chain

policy.

          64.   Similarly, States, like California, have adopted provisions and regulations aimed at

licensing and regulating wholesale distributors and third-party logistics providers.

          65.   Pursuant to California law, wholesaler distributors may not sell to “unauthorized

persons,” cannot acquire dangerous drugs or devices that entity cannot maintain in a secure manner

at the licensed premises, and cannot trade, sell, transfer dangerous drugs, known, or reasonably

should have known, to be adulterated, misbranded, outdated.

          66.   Further, California law requires wholesaler distributors to inspect drugs upon receipt

or before shipment, to only buy from authorized and sell to authorized entities, and to quarantine

outdated, damaged or misbranded drugs.

          67.   Notably, California includes pharmacies within the definition of authorized entities.

Thus, under California law, Plaintiff’s members’ business models, which entail the purchasing of

drugs and supplies from pharmacies, are wholly compliant.

          68.   The laws and regulations described above have protected and ensured the adequacy

of the drug supply chain over the past three decades and private implementation of draconian

restrictions such as VAWD do not protect the drug supply chain but rather protect private business

interests.

III.      The Pharmacy Benefit Manager Industry

          A. Consolidation of the Pharmacy Benefit Manager Industry

          69.   OptumRx is a Pharmacy Benefit Manager (“PBM”). PBMs are major players in the

delivery of health care in the United States. They act as middlemen in the lucrative business of

providing prescription drugs.




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         70.   They serve as intermediaries between pharmaceutical manufacturers and pharmacies

on the one hand (the “supply” side of the trade) and health benefit providers (e.g. insurers, self-

insured entities, health maintenance organizations, and public and private health plans) on the other

(the “demand” side).

         71.   The services that PBMs extend are designed to facilitate the provision of prescription

drug benefits to the people who utilize the services of the health benefit providers.

         72.   The PBM industry has underwent drastic changes over the past five years.

Approximately 75% of the PBM marketplace (or 75% of the covered lives in the United States of

America) is comprised of four PBMs: (1) Express Scripts, (2) CVS/Caremark, (3) OptumRx, and (4)

Prime Therapeutics.

         73.   While there are other, smaller PBMs who administer some plans, the vast majority of

lives are managed by these four, extremely large PBMs.

         74.   The lack of diversity or competition in the market place stems in large part from the

series of mergers, integrations and consolidations that have occurred in recent years in the PBM

space.

         75.   This PBM market consolidation is well-illustrated in Figure 1.




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        Figure 1.

 2011




 2013




 2015




As a result, upon information and belief, in some areas a single PBM can represent over 80% of the

market share.

        76.     In addition to consolidation among PBMs, over the past few years there has also

been integration between insurance companies and PBMs.

        77.     UnitedHealth Group, Inc., the parent company of the nation’s largest insurance

company in United HealthCare Services, Inc., had originally utilized Medco Health Solutions to

administer its prescription drug benefit plans. However, in 2012 UnitedHealth Group, Inc. began

migrating the administration of its plans from Medco Health Solutions to OptumRx, United’s

wholly owned PBM.

        78.     Thereafter, in July 2015, Catamaran, one of the nation’s largest PBMs, was acquired

by UnitedHealth Group, Inc. As a result, Catamaran and OptumRx have integrated operations and

operate under one name, OptumRx.




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        79.      As a result of these acquisitions, UnitedHealth Group, Inc., with its combined

subsidiary in OptumRx-Catamaran, is one of the largest companies in the world holding about 20%

market share in the PBM marketplace and has over 66 million members or “covered lives” in 2016.

        80.      For the purposes of Medicare, UnitedHealth Group, Inc. operates businesses,

including United HealthCare Services, Inc. and OptumRx, which serve as Part D plan sponsors as

well as Part D “first tier entities” who work in vertical concert to administer prescription drug

benefits.

        81.      Pharmacies can service a variety of patients, but the patient benefits are paid

predominantly by one of four national PBMs. As such, these four PBMs are the only “Payors” of

pharmacy benefits and are essentially the pharmacy’s customers. Thus, when a pharmacy loses a

contract with a PBM, it is tantamount of the pharmacy losing one of its only four customers/payors.

        82.      PBMs dictate the terms of participation through Pharmacy Network Agreements and

Provider Manuals, and set forth the manner in which participating providers can carry out pharmacy

performance.

        83.      Therefore, a pharmacy that is unwilling to abide by OptumRx’s VAWD-

Accreditation Policy would be forced to discontinue servicing OptumRx’s beneficiaries, and would

as a result lose approximately one-quarter of its patient base.

        84.      In addition, because OptumRx will recoup 100% of all paid claims (including the full

acquisition costs of the drugs) submitted from non-VAWD accredited wholesalers from pharmacies,

OptumRx makes is practically impossible for any of its in-network pharmacies to purchase from

non-VAWD wholesalers as being able to prove which of the pharmacies’ drug products came from

which supplier will also be virtually impossible. As a result, the VAWD accreditation requirement

necessarily removes the capability of OptumRx’s in-network pharmacies to purchase from any non-

VAWD wholesaler, even if it is only for the purposes of servicing non-OptumRx members.




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          B. OptumRx Has Close Relationship with Large Wholesalers

          85.   About 85% of all revenues in the drug wholesale market are generated by three

national distributors: AmerisourceBergen, Cardinal Health, and McKesson.

          86.   On or about September 1, 2013, AmerisourceBergen and Walgreens and Alliance

Boots (“WBA”) effectuated a 10-year pharmaceutical distribution agreement wherein WBA was

originally granted the right to purchase 7% of AmerisourceBergen’s outstanding equity, with

additional equity warrants exercisable for an additional ~16% of AmerisourceBergen’s outstanding

equity.

          87.   On or about August 25, 2016, WBA announced that it had agreed with

AmerisourceBergen to amend the second tranche of warrants held by WBA to allow WBA to

purchase AmerisourceBergen common stock.

          88.   As of the date of this Complaint, WBA now beneficially owns approximately 23.9%

of AmerisourceBergen’s outstanding equity.

          89.   Additionally, WBA and Rite Aid Corporation proposed a merger in October

2015. The merger is currently pending approval from the United States Federal Trade Commission.

          90.   WBA’s market share of 2015 prescription revenues through their “Chain Drugstore

Pharmacies” was 14.9% or $54.4 billion. Rite Aid’s market share of 2015 prescription drug revenues

through their Chain Drugstore Pharmacies was 5.3% or $19.3 billion.

          91.   On or about March 17, 2016, WBA and OptumRx announced a partnership

arrangement, effective as of January 1, 2017. As a result of this partnership, OptumRx members will

have the option to fill their 90-day prescriptions at mail order copay levels at any Walgreens

pharmacy, among other things. OptumRx’s share of 2015 Prescription Revenues through their Mail

Order Pharmacy was 4.3% or $15.8 billion.




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       92.     Upon information and belief, and given OptumRx’s reach into the prescription drug

market, OptumRx’s partnership with WBA has substantial impact on AmerisourceBergen’s volume

of sales to WBA.

       93.     In addition to OptumRx’s close ties with AmerisourceBergen through its partnership

with AmerisourceBergen’s partial owners, WBA, on August 24, 2015, OptumRx announced a multi-

year agreement with Cardinal to supply generic and brand pharmaceuticals to OptumRx’s specialty

pharmacy and mail services pharmacy.

       94.     This evidences OptumRx’s close relationship with two of the Big Three in

AmerisourceBergen and Cardinal.

IV.    OptumRx Announces VAWD-Accredited Policy in an Effort to Drive Market Toward
       the Big Three

       A. Background of VAWD and Its Effect on Plaintiff’s Member’s Business Model

       95.     By way of letter dated August 11, 2016, OptumRx notified each and every of its

approximately 67,000 participating pharmacy providers that the terms and conditions of the

pharmacies’ Pharmacy Network Agreement and Provider Manual with OptumRx was being

modified.

       96.     More specifically, OptumRx’s August 11, 2016 letter stated that “Effective October

1, 2016, changes will be made to the provider manual stating that your pharmacy MUST purchase

ALL medications dispensed for claims being dispensed to OptumRx participants from a Verified-

Accredited-Wholesale Distributor (VAWD).”

       97.     VAWD is an accreditation offered by the National Association Boards of Pharmacy

(“NABP”). In order to obtain VAWD accreditation, a wholesaler undergoes a criteria compliance

review, which includes a rigorous assessment of the wholesaler’s operating policies and procedures,

licensure verification, survey of facility and operations, background checks, and screening




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procedures. VAWD accredited facilities are reviewed annually and undergo a site survey every three

years.

         98.    Obtaining VAWD accreditation is not a simple process for a wholesaler. Rather, the

process can take more than six (6) months from start to finish, and places an unreasonable monetary

burden upon wholesalers seeking the accreditation.

         99.    Indeed, according to the NABP website the estimated total for three-year

accreditation is $7,500.00 per facility.

         100.   Moreover, a wholesaler’s accreditation status (unlike a State license) is subject to the

changing whims of the accrediting body, and does not afford due process rights or public oversight,

like State or Federal licensure.

         101.   Critically, Plaintiff’s members and other similarly situated Secondary Wholesalers

cannot obtain VAWD accreditation and continue utilizing their business model.

         102.   In order to receive and retain VAWD accreditation a wholesale distributor must not

“engage in the wholesale distribution of Prescription drugs that are purchased or received from

pharmacies or practitioners, or from wholesale distributors that obtained them from pharmacies

or practitioners.”

         103.   As set forth in detail above, Plaintiff’s members and other similarly situated

Secondary Wholesalers obtain a portion of their drugs and supplies from pharmacies and

practitioners, or obtain their drugs from wholesalers that had previously obtained the drugs from

pharmacies and practitioners.

         104.   As such, Plaintiff’s members’ business models, which are fully compliant with all

applicable Federal and State law, renders VAWD accreditation a literal impossibility or a significantly

impractical without changing these business models overnight or forcing the NABP to make




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unlikely exceptions to its VAWD accreditation standards to accommodate these models, which are

nevertheless fully compliant with applicable law and regulations.

        B. OptumRx’s VAWD-Accreditation Requirement is Unreasonable, Arbitrary, and
           Unwarranted.

        103.    The constraints of this new policy requiring VAWD accreditation puts a new burden

on participating pharmacies but also places a de facto requirement on the wholesale distributors from

which they purchase.

        104.    The VAWD-Accreditation Policy could effectively limit the number of pharmacies

eligible to participate in OptumRx’s network and potentially jeopardize their ability to serve

OptumRx’s covered patients.

        105.    The VAWD-Accreditation Policy will disqualify reputable distributors from serving

certain pharmacy customers which could be detrimental to those businesses and, more importantly,

to their customers’ patients.

        106.    This policy may also cause the limiting of patient access to prescription drug

products in the near term, and will significantly impede pharmacies’ ability to source product from

alternate trading partners in cases where products are in short supply.

        107.    VAWD is not sanctioned by HHS or its “sub-agencies” (including the FDA and

CMS) and no Federal law, including the DSCSA, requires wholesale distributors to be VAWD-

accredited.

        108.    The DSCSA establishes a uniform Federal standard for wholesale distributor

licensure and operation, and no State or political subdivision “may establish or continue any

standards, requirements, or regulations with respect to” wholesale prescription drug distributors that

“are inconsistent with, less stringent than, directly related to, or covered by” the DSCSA’s standards

and requirements.




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       109.    Even if a State could continue to mandate VAWD accreditation, the standards

against which VAWD inspects and accredits cannot be different than those imposed under the

DSCSA.

       110.    The enactment of the DSCSA in 2013 established a national, uniform system of

requirements to protect patients and help assure the integrity of the pharmaceutical supply chain.

       111.    As of January 1, 2015, all entities in the supply chain, including OptumRx’s

pharmacy network participants, can only engage in transactions – that is, a change in ownership of a

product – with authorized trading partners.

       112.    The DSCSA defines “authorized trading partner” and places the burden on each

trading partner to properly vet their suppliers and customers to ensure they are properly licensed and

compliant with DSCSA requirements.

       113.    Thus, wholesale distributors and pharmacies may only purchase from entities that are

authorized as defined in the DSCSA.

       114.    In addition, beginning over a year ago, supply chain participants began tracing

product uniformly by exchanging Transaction Information, Transaction History, and Transaction

Statements with each transaction, that is, each purchase and sale of products as defined in the

DSCSA.

       115.    In the Transaction Statement, the entity transferring ownership of a product must

attest to the buyer that it: is an authorized trading partner; Received the product from a person that

is authorized; received a Transaction Statement from the prior owner of the product and

Transaction Information about the product; did not knowingly ship a suspect or illegitimate product;

has systems and processes in place to comply with the DSCSA’s verification requirements

(verification includes the ability to, among other things, investigate whether a product is suspect or




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illegitimate); did not knowingly provide false Transaction Information; and did not knowingly alter

the product’s Transaction History.

        116.    Congress carefully constructed these requirements and they are enforceable by FDA

and its partner State regulatory agencies. The DSCSA was specifically enacted to enable greater

transparency and security in the supply chain. However, VAWD requirements go well beyond the

requirements of the newly enacted law.

        117.    Additionally, the DSCSA establishes national, uniform standards for the licensure of

wholesale distributors. “For the purpose of ensuring uniformity,” FDA must establish by regulation

standards that “shall apply to all State and Federal licenses” and shall include standards for the

following: the storage and handling of prescription drugs, including facility requirements; the

establishment and maintenance of records of the distributions of such drugs; the furnishing of a

bond or other equivalent means of security; mandatory background checks and fingerprinting of

facility managers or designated representatives; The establishment and implementation of

qualifications for key personnel; the mandatory physical inspection of any facility following the

facility’s initial licensure application; prohibitions of certain persons from receiving or maintaining a

wholesale distributor license. The existing law is sufficient to protect the supply chain without

requiring VAWD accreditation.

        118.    FDA regulations implementing these licensure standards are expected at the end of

2016. These regulations will be promulgated and adopted under the Administrative Procedure Act,

pursuant to proper notice and comment.

        119.    The DSCSA, therefore, provides protections to assure that only authorized entities

buy and sell drugs, that those transactions are documented, and that wholesale distributors operate

in accordance with national standards.




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          120.   In contrast, the VAWD program has no legal significance and VAWD has no

regulatory authority to enforce these provisions over any supply chain entity, thus making

OptumRx’s VAWD-Accreditation Policy unnecessary and unduly burdensome.

          C. OptumRx Has Implemented its VAWD-Accreditation Policy in An Effort to
             Drive Market Share Toward the Big Three Wholesalers in Exchange for More
             Favorable Pricing Terms

          121.   The pharmaceutical delivery system is incredibly complex, with a myriad of moving

parts, behind-the-scenes deals, and strategic alliances.

          122.   Upon information and belief, large players, including OptumRx as one of the

country’s largest PBMs, form dozens of intricate agreements with other entities, such as

manufacturers, wholesalers, insurance companies, technology companies, and pharmacies, all aimed

at integrating the prescription drug delivery system.

          123.   As mentioned, and based upon information and belief, OptumRx has substantial

relationships with both Cardinal (through an August 2015 purchase agreement) and

AmerisourceBergen (through a partnership with WBA).

          124.   Upon information and belief, OptumRx also receives substantial rebates from

manufacturers and primary wholesalers.

          125.   Upon information and belief, OptumRx derives a financial incentive, or direct or

indirect benefit, by requiring VAWD accreditation of wholesalers selling to its member pharmacies,

as this VAWD-Accreditation Policy will have a negative impact on competitors of the Big Three

(such as Plaintiff’s members).

 V.       The VAWD-Accreditation Policy Constitutes Final Agency Action By HHS
          Defendants In Violation of the Administrative Procedure Act

          126.   As noted above, OptumRx manages Part D prescription drug plans as a First Tier

entity.




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          127.   Thus, the VAWD-Accreditation Policy constitutes final agency action on behalf of

the HHS Defendants.

          128.   Through the promulgation of multiple “Reorganization Plans” over the span of

decades, see generally 5 U.S.C. App., Congress, working in concert with the Executive Branch, created

the United States Department of Health and Human Services (HHS) and imbued it with certain, but

limited regulatory authority. See 42 U.S.C. §§ 1395hh, et seq.

          129.   In particular, the law requires that the Secretary of HHS “shall prescribe such

regulations as may be necessary to carry out the administration of the insurance programs under this

subchapter. When used in this subchapter, the term ‘regulations’ means, unless the context

otherwise requires, regulations prescribed by the Secretary.” 42 U.S.C. § 1395hh(a)(1) (emphasis

added).

          130.   More importantly, the law also requires that “[n]o rule, requirement, or other

statement of policy (other than a national coverage determination) that establishes or changes a

substantive legal standard governing the scope of benefits, the payment for services, or the eligibility of

individuals, entities, or organizations to furnish or receive services or benefits under this subchapter shall take

effect unless it is promulgated by the Secretary by regulation under [42 U.S.C. § 1395hh(a)(1)].” 42

U.S.C. § 1395hh(a)(2) (emphasis added).

          131.   The Centers for Medicare & Medicaid Services (“CMS”) is the “sub-agency” within

HHS charged by the Secretary of HHS with administering the Medicare program, including

Medicare Part D, which was enacted by the Medicare Prescription Drug, Improvement, and

Modernization Act of 2003. See generally 42 U.S.C. §§ 1395w-101, et seq.

          132.   Under the Federal framework and with the permission of Congress and HHS, CMS

contracts with Plan Sponsors to administer enrollees’ prescription drug benefits under Medicare Part




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D. See 42 U.S.C. § 1395w-112, et seq. (providing the statutory requirements governing CMS’

contracts with prescription drug plan [“PDP”] sponsors).

        133.     Plan sponsors likewise contract with “First Tier Entities” (e.g. PBMs such as

OptumRx) to administer services rendered to Medicare enrollees. See 42 C.F.R. § 423.4 (“First tier

entity means any party that enters into a written arrangement, acceptable to CMS, with a Part D

plan sponsor or applicant to provide administrative services or health care services for a Medicare

eligible individual under Part D.”) (emphasis added).

        134.     In turn, these “first tier entities” contract with pharmacy providers, or “downstream

entities”, to create the Medicare Part D infrastructure necessary to fulfil the legislative intent of

Congress to provide prescription drug benefits directly to Medicare enrollees. See 42 C.F.R. § 423.4

(“Downstream entity means any party that enters into a written arrangement, acceptable to CMS,

with persons or entities involved with the Part D benefit, below the level of the arrangement

between a Part D plan sponsor (or applicant) and a first tier entity. These written arrangements

continue down to the level of the ultimate provider of both health and administrative services.”)

(emphasis added).

        135.     With each successive entity’s involvement in the Medicare Part D program, their

legal rights and duties are constrained through contractual agreements down the chain of privity

from CMS to the ultimate provider, the terms of which must be “acceptable to CMS”. See, e.g., 42

C.F.R. § 423.505, et seq. (providing regulatory requirements for Part D contract provisions).

        136.     Plaintiff’s members are “downstream” entities because they enter into written

arrangements with OptumRx’s participating pharmacy providers, many of whom are “involved with

the Part D benefit, below the level of the arrangement between a Part D plan sponsor (or applicant)

and a first tier entity.”




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        137.       OptumRx is a “first tier” entity with delegated authority or a “PDP Sponsor” who

must “comply with all applicable Federal laws, regulations, and CMS instructions.” 42 C.F.R. §

423.505, et seq.

        138.       Beyond being simply bound by all applicable Federal laws, regulations, and CMS

instructions, OptumRx is acting as an agent of the Federal Government in their administration of

Medicare Part D.

        139.       OptumRx’s VAWD-Accreditation Policy is a “rule, requirement, or other statement

of policy” and, as such, must be a product of informal rule making by the HHS Defendants

pursuant to 42 U.S.C. § 1395hh and 5 U.S.C. § 553. As such, the Policy must follow the agency rule

making process.

VI.     Nature of Plaintiff’s Member’s Harm if OptumRx Implements Its VAWD-
        Accreditation Policy

        140.       The implementation of OptumRx’s VAWD-Accreditation Policy will create an

immediate and irreparable harm to Plaintiff’s members and similarly situated secondary wholesalers

in the marketplace as well as numerous independent pharmacies throughout the country.

        141.       If OptumRx is permitted to continue to implement its VAWD-Accreditation Policy,

Plaintiff’ members will lose revenue from pharmacies that process claims for OptumRx

beneficiaries. Plaintiff’s members have been informed by pharmacies that the pharmacies have

stopped and will continue to stop ordering medications from Plaintiff’s members if the pharmacies

cannot dispense medications from Plaintiff’s members to OptumRx beneficiaries.

        142.       It is customary for pharmacies to only order medications from wholesalers that can

be dispensed to beneficiaries of many, if not all, insurance companies.

        143.       This is because it is neither practical nor convenient for the pharmacy to spend time

determining whether a particular medication being dispensed to an OptumRx beneficiary originated

from a VAWD-accredited wholesaler or a non-VAWD accredited wholesaler.



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       144.    Therefore, if OptumRx’s policy is allowed to continue, Plaintiff’s members have

been notified by client-pharmacies that the pharmacies will cease placing orders with Plaintiff’s

members and begin ordering medications strictly from VAWD-accredited wholesalers. In several

instances, Plaintiff’s members’ client-pharmacies have ceased placing orders with Plaintiff’s members

and are ordering medications strictly from VAWD-accredited wholesalers

       145.    Additionally, OptumRx’s policy, which disallows pharmacies from ordering

medication through non-VAWD accredited wholesalers, will result in irreparable harm to Plaintiff’s

members’ reputation, as pharmacies will undoubtedly believe that non-VAWD accredited

wholesalers are inferior to VAWD-accredited wholesalers.

       146.    By way of example, and not limitation, several pharmacy-customers of AIPW

member HealthSource Distributors, LLC have ceased doing business with HealthSource

Distributors and have advised that they will only recommence doing business with HealthSource

Distributors if it can provide proof of VAWD accreditation, going so far as explicitly indicating,

“Please confirm that you are compliant with all Optum Rx new VAWD requirements. If you are

not, we can not do business with you guys.” As a subsequent example, another customer indicated

that “After reviewing the new standards set forth by OptumRx…we are auditing all wholesalers that

[customer] is currently purchasing from. Please forward…VAWD Accreditation and OptumRx

approval letter. Should we not have these before 2/28/2017, we will discontinue purchasing from

your company.”

       147.    At least fifty (50) pharmacy-customers of AIPW member Matrix Distributors, Inc.

have discontinued doing business with Matrix Distributors, Inc. and will only recommence doing

business with Matrix Distributors, Inc. if it can provide proof of VAWD accreditation.

       148.    At least one customer of AIPW member PriMed Pharmaceuticals has ceased doing

business with PriMed Pharmaceuticals unless it gains VAWD accreditation. Furthermore, this




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particular customer has indicated that it will terminate its endorsement of PriMed Pharmaceuticals

as a “preferred vendor.”

VII.    Nature of Harm to Pharmacies and Patients

        149.       Not only will Plaintiff’s members and other similarly situated Secondary Wholesalers

be irreparably harmed by OptumRx’s policy, but so will independent pharmacies and patients.

        150.       There are numerous independent pharmacies throughout the country that rely on

Plaintiff’s members and similarly situated secondary wholesalers to obtain life-saving medications for

their patients.

        151.       These pharmacies are often unable to obtain medications from the Big Three and

other large wholesalers because they fail to meet the larger wholesaler’s minimum purchasing

requirements.

        152.       Additionally, Plaintiff’s members and other similarly situated secondary wholesalers’

business model allows pharmacies to obtain medications at a lower cost, which helps the

independent pharmacies obtain a larger margin of profit. See, e.g., United States Department of

Health and Human Services (“HHS”) and the United States Food and Drug Administration

(“FDA”), The Prescription Drug Marketing Act: Report to Congress, at 15 (June 2001), available at

http://www.fda.gov/downloads/RegulatoryInformation/Legislation/SignificantAmendmentstothe

FDCAct/PrescriptionDrugMarketingActof1987/UCM203186.pdf (generally noting “the secondary

wholesale market operates on an arbitrage system whereby secondary distributors, by purchasing and

selling drugs at discounts offered by manufacturers and other distributors, help to keep drug prices

lower overall for consumers than they would otherwise be without the presence of secondary

distributors.”).




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        153.    With the removal of this crucial “arbitrage system” from the drug supply chain, the

consequences could prove dire for ultimate consumers and taxpayers in the form of increased drug

pricing across the industry.

        154.    Such dire consequences for ultimate consumers and taxpayers are a direct result of

the VAWD-Accreditation Policy, which is immoral, oppressive, and substantially injurious to

consumers.

        155.    Without the ability to purchase medications from Plaintiff’s members and other

similarly situated secondary wholesalers, a number of pharmacies throughout the United States will

have difficulty obtaining the medications necessary to service their patients.

        156.    The inability of pharmacies to purchase medications from secondary wholesalers,

such as the members of AIPW, is a direct result of the VAWD-Accreditation Policy, which is

immoral, oppressive, and injurious to consumers.

        157.    If Secondary Wholesalers are removed from the marketplace in this fashion, there

will be drastic negative consequences for patients, providers, and the drug marketplace in

general. This includes, but is not limited to: increased waste of drug supplies, shortened supplies

(and commensurate decrease in patient access to prescription drugs), and increased average

wholesale pricing and/or wholesale acquisition costs which could prove to be financially

catastrophic to OptumRx’s participating providers.

        158.    The pharmacies that are lucky enough to find alternative means of obtaining the

necessary supply of medications for their patients will suffer smaller profit margins, as the Big Three

and Other Large Wholesalers sell medications at a higher cost.

        159.    Many smaller, independent pharmacies that cannot meet large wholesaler’s minimum

purchasing requirements or, alternatively, cannot absorb smaller profit margins from larger

wholesalers may resultantly be forced to cease operations. As a result, the patients of those




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pharmacies that have ceased operations will be forced to find alternative methods to obtain their

medications.



                                  COUNT ONE
           VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT (“APA”)
                            (Against HHS Defendants)

          160.   Plaintiff repeats and reiterates the factual allegations set forth above as it set forth at

length herein.

          161.   The contract term of adherence adopted by OptumRx, which requires that all

“downstream entities” in the form of OptumRx’s participating providers to purchase drug products

for dispensation to Medicare enrollees only from VAWD accredited wholesalers—is necessarily “a

rule, requirement, or other statement of policy (other than a national coverage determination) that

establishes or changes a substantive legal standard governing the scope of benefits, the payment for

services, or the eligibility of individuals, entities, or organizations to furnish or receive services or

benefits”. 42 U.S.C. § 1395hh(a)(2).

          162.   OptumRx is a “first tier” entity with delegated authority or a “PDP Sponsor” who

must “comply with all applicable Federal laws, regulations, and CMS instructions.” 42 C.F.R. §

423.505, et seq. Beyond being simply bound by all applicable Federal laws, regulations, and CMS

instructions, OptumRx is an agent of the Federal Government in their administration of Medicare

Part D.

          163.   As a result, an informal rule making (including notice and comment) by HHS (or

CMS acting with duly delegated authority) pursuant to 42 U.S.C. § 1395hh, et seq. and 5 U.S.C. § 553,

et seq. is required for the VAWD accreditation “rule, requirement, or other statement of policy”

established by OptumRx to be effective as against “downstream entities”—such as Plaintiff’s




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members and their customers—who “furnish” Medicare “services or benefits” to Medicare

enrollees.

        164.    HHS and/or CMS’ “failure to act” or the “equivalent or denial” of providing the

required informal rule making for the VAWD accreditation “rule, requirement, or other statement of

policy”, which “establishes or changes a substantive legal standard governing . . . the eligibility of

individuals, entities, or organizations to furnish or receive services or benefits” constitutes an

“agency action” as defined in the APA pursuant to 5 U.S.C. § 551(13).

        165.    Plaintiff seeks an injunction from this Court pursuant to 5 U.S.C. § 706(1): (I)

compelling HHS to order OptumRx to rescind its VAWD accreditation “rule, requirement, or other

statement of policy” as it relates to governmental health programs; and (II) requiring that the

VAWD accreditation “rule, requirement, or other statement of policy” go through the informal

rulemaking process as set forth in 5 U.S.C. §§ 553 and 42 U.S.C. §§ 1395hh, et seq., before becoming

effective as a substantive legal standard for any governmental health program, particularly Medicare

and Medicaid.

        166.    Plaintiff seeks declaratory judgment from this Court pursuant to 5 U.S.C. § 706(2)(A)

that Defendants’ VAWD accreditation “rule, requirement, or other statement of policy” violates 42

U.S.C. § 1395hh, et seq. and the APA, and should be set aside as being “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.”

        167.    Plaintiff seeks declaratory judgment from this Court pursuant to 5 U.S.C. § 706(2)(C)

that Defendants’ VAWD accreditation “rule, requirement, or other statement of policy” violates 42

U.S.C. § 1395hh, et seq. and the APA, and should be set aside as being “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.”

        168.    Plaintiff seeks declaratory judgment from this Court pursuant to 5 U.S.C. §

706(2)(D) that Defendants’ VAWD accreditation “rule, requirement, or other statement of policy”




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violates 42 U.S.C. § 1395hh, et seq. and the APA, and should be set aside as being promulgated

“without observance of procedure required by law.”

        WHEREFORE, Plaintiff hereby demands judgment in its favor and against HHS

Defendants as follows:

             a) Declaring that HHS Defendants’ VAWD accreditation “rule, requirement, or other

                 statement of policy” is in violation of the rule making process set forth in 42 U.S.C. §

                 1395hh, et seq. and generally under the APA, particularly 5 U.S.C. § 553, and must be

                 set aside pursuant to 5 U.S.C. § 706(2), et seq.

             b) Preliminary injunction against each Defendant, particularly OptumRx, from

                 effectuating its VAWD accreditation “rule, requirement, or other statement of

                 policy” as against “downstream entities” such as Plaintiff’s members in violation of

                 42 U.S.C. § 1395hh, et seq. and the APA;

             c) Such other relief as this Court deems just and proper.

                                         COUNT TWO
                                 DECLARATORY JUDGMENT
                             (Against OptumRx and HHS Defendants)

        169.     Plaintiff repeats and reiterates the factual allegations set forth above as it set forth at

length herein.

        170.     An actual, immediate, substantial, and justiciable controversy has arisen between

Plaintiff, OptumRx, and HHS Defendants concerning Plaintiff’s members’ legal rights to distribute

pharmaceutical drug products to OptumRx’s network pharmacies.

        171.     Plaintiff’s members are “downstream” entities because they enter into written

arrangements with OptumRx’s participating pharmacy providers, many of whom are “involved with

the Part D benefit, below the level of the arrangement between a Part D plan sponsor (or applicant)

and a first tier entity.”




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        172.       OptumRx is a “first tier” entity with delegated authority or a “PDP Sponsor” who

must “comply with all applicable Federal laws, regulations, and CMS instructions.” 42 C.F.R. §

423.505, et seq. Beyond being simply bound by all applicable Federal laws, regulations, and CMS

instructions, OptumRx is an agent of the Federal Government, specifically HHS Defendants, in

their administration of Medicare Part D.

        173.       As contracted administrators of Medicare Part D and agents clothed in the authority

of the government, unlawful actions taken by OptumRx—such as the imposition of a contract term

which unreasonably restrains trade, constitutes unfair competition, tortuously interferes with third-

party contracts and economic relations, and/or usurps the authority or regulations of the FDA

and/or CMS—may properly be challenged in court.

        174.       An actual, immediate, substantial, and justiciable controversy has arisen between

Plaintiff, OptumRx,  and HHS Defendants concerning OptumRx’s legal authority, when acting as a

“first tier” entity or Part D Plan Sponsor, to require “downstream” entities, such as OptumRx’s

participating pharmacy providers, to purchase prescription drugs from wholesalers who are

accredited by an unapproved accreditation organization for a standard (i.e. VAWD accreditation)

under Part D which has not received proper approval from CMS pursuant to the process set out in

42 C.F.R. § 423.168, et seq.

        175.       An actual, immediate, substantial, and justiciable controversy has arisen between

Plaintiff and OptumRx concerning OptumRx’s legal authority, when acting as a “first tier” entity or

Part D Plan Sponsor, to require “downstream” entities, such as Plaintiff’s members, to be accredited

by an unapproved accreditation organization for a standard (i.e. VAWD accreditation) under Part D

which has not received proper approval from CMS pursuant to the process set out in 42 C.F.R. §

423.168, et seq.




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       176.      Plaintiff seeks declaratory judgment from this Court that OptumRx’s contract term

imposing the requirement that its participating pharmacy providers be required to purchase their

inventory only from VAWD accredited wholesalers violates CMS regulations and is void as a matter

of law and/or public policy.

       WHEREFORE, Plaintiff hereby demands judgment in its favor and against OptumRx as

follows:

             a) Declaring that OptumRx’s and HHS Defendants’ VAWD-Accreditation Policy is in

                 violation of the process set forth in 42 C.F.R. § 423.168, et seq.

             b) Preliminary injunction against OptumRx and HHS Defendants from continuing its

                 VAWD-Accreditation policy;

             c) Reimbursement for any sum of money damages as suffered by Plaintiff’s members;

             d) Such other relief as this Court deems just and proper.

                           COUNT THREE
    VIOLATION OF THE REGULATORY FLEXIBILITY ACT, 5 U.S.C. § 601 et seq.
                        (As to HHS Defendants)

       177.      Plaintiff repeats and reiterates the factual allegations set forth above as it set forth at

length herein.

       178.      Under the Regulatory Flexibility Act (“RFA”), a final agency rule must contain a final

“regulatory flexibility analysis,” which gives “a description of the steps the agency has taken to

minimize the significant economic impact on small entities consistent with the stated objectives of

applicable statutes, including a statement of the factual, policy, and legal reasons for selecting the

alternative adopted in the rule and why each one of the other significant alternatives to the rule

considered by the agency which affect the impact on small entities was rejected.” 5 U.S.C. §604(a)(6).

       179.      As set forth above, the VAWD-Accreditation Policy constitutes final agency

rulemaking.




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       180.      The HHS Defendants failed to comply with the RFA by failing to provide a

description of the steps CMS and HHS had taken to minimize the significant economic impact on

small entities of the VAWD-Accreditation Policy. Similarly, the HHS Defendants failed to provide a

statement regarding whether there were any viable alternatives to the VAWD-Accreditation Policy

and why each of those potential alternatives was rejected.

       181.      Because the HHS Defendants failed to comply with the RFA, the VAWD-

Accreditation Policy was promulgated “without observance of procedure required by law” and must

be vacated. 5 U.S.C. §706(2)(D).

       WHEREFORE, Plaintiff hereby demands judgment in its favor and against HHS

Defendants as follows:

           a) Declaring that HHS Defendants’ VAWD accreditation “rule, requirement, or other

                 statement of policy” is in violation of the RFA, 5 US.C. §601 et seq., and must be set

                 aside pursuant to 5 U.S.C. § 706(2), et seq.

           b) Preliminary injunction against Defendants, enjoining Defendants from effectuating

                 the VAWD accreditation “rule, requirement, or other statement of policy” as against

                 “downstream entities” such as Plaintiff’s members in violation of the RFA and the

                 APA;

           c) Such other relief as this Court deems just and proper.

                            COUNT FOUR
    UNFAIR COMPETITION IN VIOLATION OF CALIFORNIA BUSINESS AND
               PROFESSIONS CODE SECTION 17200, et seq.
                          (Against OptumRx)

       182.      Plaintiff repeats and reiterates the factual allegations set forth above as it set forth at

length herein.

       183.      Business and Professions Code section 17200 et seq. (the “Unfair Competition Law”

or “UCL”) prohibits any unlawful, unfair or fraudulent business act or practice, any unfair deceptive,



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untrue or misleading advertising, and any violation of Business and Professions Code section 17500

et seq.

          184.   OptumRx’s implementation of the VAWD-Accreditation Policy constitutes an

unlawful, unfair and fraudulent business practice.

          185.   Plaintiff’s members have suffered and will continue to suffer an injury in fact as a

result of OptumRx’s unlawful, unfair and fraudulent methods of competition.

          WHEREFORE, Plaintiff hereby demands judgment in its favor and against OptumRx as

follows:

             a) Declaring that OptumRx engaged in unfair methods of competition, in violation of

                 California Business and Professions Code Section 17200, et seq.;

             b) Preliminarily enjoining OptumRx from continuing its VAWD-Accreditation Policy;

             c) Reimbursement for any sum of money damages suffered by Plaintiff’s members as a

                 result of OptumRx’s intention to implement its VAWD-Accreditation policy;

             d) Attorney’s fees and costs of suit; and

             e) All other relief this Court deems just and proper.

                           COUNT FIVE
   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                         (Against OptumRx)

          186.   Plaintiff repeats and reiterates the factual allegations set forth above as it set forth at

length herein.

          187.   Plaintiff’s members have established economic relationships with numerous

pharmacy clients that utilized Plaintiff’s members’ services to the substantial benefit of Plaintiff’s

members. OptumRx knew of these economic relationships.

          188.   As described at length herein, OptumRx’s implementation of its VAWD-

Accreditation Policy was designed to disrupt the economic relationships between Plaintiff’s




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members and their clients, and indeed, the relationships were disrupted as a result of OptumRx’s

policy such that prospective customers and merchants have declined to do business with Plaintiff

member or similarly situated independent wholesalers.

        189.    OptumRx’s VAWD-Accreditation Policy constitutes an unfair trade practice in

violation of Business and Professional Code section 17200.

        190.    As a proximate result of OptumRx’s conduct, Plaintiff’s members have suffered and

will continue to suffer significant damages, including, but not limited to, lost revenue and lost profits

caused by the substantial disruption in the economic relationship between Plaintiff’s members and

their pharmacy clients.

        191.    Specifically,   OptumRx     has   interfered   with   AIPW-member        HealthSource

Distributors, LLC’s economic relationships by way of the VAWD-Accreditation Policy, which has

caused several of its client-pharmacies to cease doing business with HealthSource Distributors,

LLC.

        192.    Due to OptumRx’s interference, at least fifty (50) client-pharmacies of AIPW

member Matrix Distributors, Inc. have discontinued doing business with Matrix Distributors, Inc.

        193.    At least one client-pharmacy of AIPW member PriMed Pharmaceuticals has ceased

doing business with PriMed Pharmaceuticals due to OptumRx’s interference.




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       194.      The conduct of OptumRx in interfering with Plaintiff’s member’s economic

relationships was intentional, willful, and calculated to cause damage to Plaintiff’s members’ lawful

businesses. Further, the conduct of OptumRx was perpetrated with actual malice and ill will toward

Plaintiff’s members, and with the intentional and improper purpose of causing damage. There was

no justifiable cause for OptumRx’s implementation of its policy. As a result, an award of punitive

damages is warranted.

       WHEREFORE, Plaintiff hereby demands judgment in its favor and against OptumRx as

follows:

             a) Preliminary injunction against OptumRx from continuing its VAWD-Accreditation

                 policy;

             b) Judgment against OptumRx for tortuously interfering with Plaintiff’s members

                 economic advantage;

             c) Reimbursement for any sum of money damages as suffered by Plaintiff’s members;

             d) Such other relief as this Court deems just and proper.




                                     COUNT SIX
                      TORTIOUS INTERFERENCE WITH CONTRACT
                                  (Against OptumRx)

       195.      Plaintiff repeats and reiterates the factual allegations set forth above as it set forth at

length herein.

       196.      Plaintiff’s members established ongoing contractual and transactional relationships

with pharmacies to provide them with medications.

       197.      OptumRx was aware of the ongoing contractual and transactional relationships that

Plaintiff’s members had established with numerous pharmacies throughout the United States.




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           198.   OptumRx intentionally interfered with Plaintiff’s member’s contractual and

transactional relationship with their client-pharmacies by arbitrarily imposing the VAWD-

Accreditation Policy upon pharmacies with the intent to drive Plaintiff’s members out of business.

           199.   OptumRx was not justified in interfering with, and used improper means to interfere

with, Plaintiff’s members’ contractual relationship with its pharmacy clients.

           200.   OptumRx’s VAWD-Accreditation Policy has resulted in the disruption of Plaintiff’s

members’ contractual and transactional relationship with its pharmacy clients.

           201.   As a result, Plaintiff’s members’ have suffered and will continue to suffer significant

damages, including, but not limited to, lost revenue and net profits caused by the substantial

disruption in Plaintiff’s members’ contractual and transactional relationships with their pharmacy

clients.

           202.   The conduct of OptumRx in interfering with Plaintiff’s members contractual and

transactional relationships with its pharmacy clients was intentional, willful, and calculated to cause

damage to Plaintiff’s members’ lawful businesses. Further, the conduct of OptumRx was perpetrated

with actual malice and ill will toward Plaintiff’s members, and with the intentional and improper

purpose of causing damage to such members. There was no justifiable cause for OptumRx’s

implementation of its policy. As a result, an award of punitive damages is warranted.

           WHEREFORE, Plaintiff hereby demands judgment in its favor and against OptumRx as

follows:

              a) Preliminary injunction against OptumRx from continuing its VAWD-Accreditation

                  Policy;

              b) Judgment against OptumRx for tortuously interfering with Plaintiff’s members’

                  contractual relations;

              c) Reimbursement for any sum of money damages as suffered by Plaintiff’s members;




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           d) Such other relief as this Court deems just and proper.

                                          JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.


Dated: February 17, 2017

                                         /s/ Todd Mizeski________________________
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                                CERTIFICATION OF SERVICE


               I, Todd Mizeski, Esq., of full age, do hereby certify that on the date set forth below,

a copy of Plaintiff’s First Amended Complaint, were fielded electronically and served on counsel of

Record:

                                       Charles B. Rogers
                                        Jason R. Asmus
                           Briggs and Morgan, Professional Association

                                         Edward T. Kang
                                        Alston & Bird, LLP

                                     Teresa L. Jakubowski, Esq.
                                     Barnes & Thornburg, LLP

                                        Peter J. Phipps, Esq.
                                United States Department of Justice
                              Civil Division, Federal Programs Branch


       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

Dated: February 17, 2017

                                        /s/ Todd Mizeski________________________
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